                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE



 BOYD SMITH, NANCY SMITH,                )
 JOEY SMITH, JEFFREY SMITH,
 JILL SMITH, BESSIE HACKNEY,             )
 WILLIAM GRAY, PEGGY GRAY,
 GREGORY HOUSTON, ERNEST                 )
 J. NICELY, and PATRICIA NICELY,
                                         )

            Plaintiffs                   )

                         v.              )               No. 3:04-cv-591

 FIRST CENTURY BANK,                     )

            Defendant                    )


 and
                                         )
 FIRST CENTURY BANK,
                                         )
            Counter-Plaintiff
                                         )
                         v.
                                         )
 BOYD SMITH, NANCY SMITH,
 JOEY SMITH, JEFFREY SMITH,              )
 ERNEST NICELY and PATRICIA
 NICELY,                                 )

            Counter-Defendants           )




Case 3:04-cv-00591-TAV-HBG      Document 271   Filed 03/30/07   Page 1 of 3   PageID
                                      #: 464
                                     ORDER



             For the reasons set forth in the Memorandum Opinion this day passed

 to the Clerk for filing, it is hereby ORDERED that the remaining prongs of the motion

 to dismiss [Doc. 56] filed by defendant First Century Bank (FCB) be, and the same

 hereby are, GRANTED whereby the following claims are DISMISSED WITH

 PREJUDICE against FCB:


                (1)     Violation of the federal Consumer Credit
             Protection Act, 15 U.S.C. § 1681s-2 (Counts II); and

                (2)     Violation of federal statutes and regulations to
             protect the confidentiality of consumer information, 15
             U.S.C. § 6801(a), et seq. (Counts III).


             It is further ORDERED that the following causes of action against FCB

 be, and the same hereby are, DISMISSED WITHOUT PREJUDICE:


                (1)    Violation of the Tennessee Identity Theft
             Deterrence Act of 1999, Tennessee Code Annotated §§
             47-18-2001, et seq. (Counts IV);

                (2)    Violation of the Tennessee Consumer Protection
             Act, Tennessee Code Annotated §§ 47-18-101, et seq.
             (Counts V);

                 (3)   Violation of the Tennessee Financial Records
             Privacy Act, Tennessee Code Annotated §§ 45-10-101, et
             seq. (Counts VI);



                                          2


Case 3:04-cv-00591-TAV-HBG      Document 271     Filed 03/30/07   Page 2 of 3   PageID
                                      #: 465
                (4)     Breach of fiduciary duty (Counts VII);

                (5)     Conversion (Counts VIII);

                (6)     Negligence (Counts IX); and

                (7)     All causes of action set forth in FCB’s amended
             counter-claim against plaintiffs Boyd Smith, Nancy Smith,
             Joey Smith, and Jeffrey Smith [see Doc. 13, pp.19-21].


             Consequently, the only cause of action remaining for trial is one for

 violations of the federal Consumer Credit Protection Act, 15 U.S.C. §§ 1601, et seq.,

 set forth in Count XI by plaintiffs Williams and Peggy Sue Gray, Gregory Houston,

 and Patricia Nicely against FCB.



             Finally, in view of the above actions, the second motion for partial

 summary judgment [Doc. 239] filed by FCB is hereby DENIED AS MOOT.



                        ENTER:


                                                     s/ James H. Jarvis
                                              UNITED STATES DISTRICT JUDGE




                                          3


Case 3:04-cv-00591-TAV-HBG      Document 271     Filed 03/30/07   Page 3 of 3   PageID
                                      #: 466
